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 7

 8                         UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10 LAVERNE SAMPSON , individually and ) Case No.: 14 CV 1807 L DHB
     as duly appointed Administrator and   )
11 Personal Representative of the Estate of)      DEFENDANTS’ PROPOSED VOIR
     CHARLES SAMPSON, SR.; JA’NEY          )      DIRE QUESTIONS
12   SAMPSON, an individual; and CHARLES )
     SAMPSON, JR., an individual,          )
13                                         )      Hon. M. James Lorenz
                  Plaintiffs,              )
14         v.                              )      Complaint Filed:
                                           )      Trial Date: 01/18/2017
15   CITY OF EL CENTRO; JAMES              )
     THOMPSON; EL CENTRO POLICE            )
16   DEPARTMENT, by and through its Police )
     Chief, JAMES McGINLEY; and DOES 1 )
17   through 50, inclusive,                )
                                           )
18                Defendants.              )
                                           )
19

20         1.    Have any of you had a negative experience with law enforcement? If so,
21 please explain [in camera?].

22         2.    Do any of you hold any negative opinions or feelings concerning any
23 law enforcement or the El Centro Police Department in particular?          If so please
24 explain [in camera?].

25         3.    Does relatively recent publicity relating to incidents between law
26 enforcement and African Americans in any way influence your ability to be a
27 completely fair and impartial in this case? If so, please explain [in camera?].

28         4.    Are you a member of, or do you in any way support, either formally or
                                             -1-
                           DEFENDANTS’ PROPOSED VOIR DIRE QUESTIONS
                                                                            14 CV 1807 L DHB
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 1 informally any group or groups which have as one of their purposes protests against

 2 law enforcement, the activities of law enforcement or activities alleged to have been

 3 taken by law enforcement against citizenry? If so , please explain [in camera?].

 4        5.     Will the fact that the decedent and the plaintiffs were/are of African
 5 American descent in any way influence your ability to a completely fair and impartial

 6 juror in this case? If so please explain [in camera?].

 7        6.     Will the fact that police officers and their employer, the City of El
 8 Centro are defendants in this action in any way influence your ability to a completely

 9 fair and impartial juror in this case? If so, please explain [in camera?].
10        7.     Will the fact the individual defendants are Caucasian and Hispanic in
11 any way influence your ability to be a completely fair and impartial juror in this case?

12 If so, please explain [in camera?].

13                                         Respectfully submitted,
14                                         McCORMICK MITCHELL & RASMUSSEN
15 Dated: January 3, 2017
                                           /s/ John McCormick
16
                                           John P. McCormick, Esq.
17                                         Konrad M. Rasmussen, Esq.
                                           Attorneys for Defendants City of El Centro,
18                                         James Thompson, Cory Gustafson,
                                           Richard Lopez and Ascencion Felix
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                           DEFENDANTS’ PROPOSED VOIR DIRE QUESTIONS
                                                                                14 CV 1807 L DHB
